      Case 2:11-cv-02500-RDR-KGS Document 1 Filed 09/02/11 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

DEREK MYERS

and

ASHLEY MYERS

               Plaintiffs,
                                              Case No.: 11-CV-2500 RDR/KGS
v.

VIKING COLLECTION SERVICE, INC.,


               Defendant.


                             COMPLAINT AND JURY DEMAND


                                       JURISDICTION

1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

2.    This action arises out of the Defendant’s violations of the Fair Debt Collection

      Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

                                            VENUE

3.    Venue is proper in this District.

4.    The acts and transactions alleged herein occurred in this Judicial District.

5.    The Plaintiffs reside within the Judicial District.

6.    Defendant transacts business within this Judicial District.

7.    The Defendant regularly collects debts by telephone and the mails within this

      Judicial District.
      Case 2:11-cv-02500-RDR-KGS Document 1 Filed 09/02/11 Page 2 of 6




                                        PARTIES

8.    Plaintiff Derek Myers is a natural person.

9.    Plaintiff Ashley Myers is a natural person.

10.   Plaintiffs reside in the City of Shawnee, County of Johnson, State of Kansas.

11.   The Plaintiffs are each a “consumer” as that term is defined by 15 U.S.C. §

      1692a(3).

12.   The Plaintiffs are each an “any person” as that term is used within15 U.S.C. § 1692

      et seq.

13.   Defendant, Viking Collection Service, Inc. is a foreign corporation.

14.   Defendant maintains a Kansas resident agent of Business Filings International,

      Inc., 112 S.W. 7th Street, Suite 3C, Topeka, Kansas 66603.

15.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

16.   The principal business of the Defendant is the collection of debts using the mails

      and telephone.

17.   Defendant regularly attempts to collect debts alleged to be due another.

                FACTUAL ALLEGATIONS AND CAUSES OF ACTION

18.   Sometime prior to the filing of the instant action, the Plaintiffs allegedly incurred a

      financial obligation that was primarily for personal, family or household purposes,

      namely an amount due and owing on a personal account (hereinafter the

      “Account”).

19.   The Account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

20.   The Account went into default with the original creditor.
      Case 2:11-cv-02500-RDR-KGS Document 1 Filed 09/02/11 Page 3 of 6




21.   After the Account went into default the Account was placed or otherwise

      transferred to the Defendant for collection.

22.   The Plaintiffs dispute the Account.

23.   The Plaintiffs request that the Defendant cease all further communication on the

      Account.

24.   The Plaintiff requests that the Defendant validate the debt pursuant to 15 U.S.C.

      § 1692g.

25.   In the year prior to the filing of the instant action the Defendant, acting through its

      representatives, employees and/or agents, made telephone calls to the Plaintiff

      and left voicemail messages for the Plaintiff.

26.   Upon information and belief, Defendant possesses recordings of the content of

      telephone calls between Plaintiff and Defendant’s representatives.

27.   Upon     information    and     belief,   Defendant   kept   and   possesses   written

      documentation and/or computer records of telephone calls between Plaintiffs and

      Defendant’s representatives.

28.   The purpose of these telephone calls was to attempt to collect the Account.

29.   The telephone calls conveyed information regarding the Account directly or

      indirectly to the Plaintiffs.

30.   The telephone calls each individually constituted a “communication” as defined

      by FDCPA § 1692a(2).
      Case 2:11-cv-02500-RDR-KGS Document 1 Filed 09/02/11 Page 4 of 6




31.   The only reason that the Defendant and/or representatives, employees and/or

      agents of the Defendant made telephone calls to the Plaintiffs was to attempt to

      collect the Account.

32.   During the telephone calls representatives, employees and/or agents of the

      Defendant caused Plaintiffs’ telephone continuously to ring with the intent to

      annoy, abuse and harass Plaintiff in violation of 15 U.S.C. § 1692d preface and

      d(5).

33.   During the telephone calls representatives, employees and/or agents of the

      Defendant repeatedly engaged Plaintiffs in conversation with the intent to annoy,

      abuse and harass Plaintiff in violation of 15 U.S.C. § 1692d preface and d(5).

34.   During the telephone calls and voicemails representatives, employees and/or

      agents of the Defendant attempting to collect the Account repeatedly contacted

      Plaintiffs after advised they were represented by counsel in violation of 15 U.S.C.

      1692 c(2).

35.   During the telephone calls representatives, employees and/or agents of the

      Defendant failed to misrepresented the character, amount and legal status of the

      debt in violation of 15 U.S.C. § 1692e preface and e(2).

36.   The Defendant and its representatives, employees and/or agents above-listed

      statements and actions constitute unfair practices and violate 15 U.S.C. § 1692f.

37.   As a consequence of the Defendant’s collection activities and

      communications, the Plaintiff has suffered actual damages, including

      emotional distress.
        Case 2:11-cv-02500-RDR-KGS Document 1 Filed 09/02/11 Page 5 of 6




                               JURY TRIAL DEMAND

The Plaintiff is entitled to and hereby demands a trial by jury. US Const. amend. 7.,

Fed. R. Civ. Pro. 38.



                         DESIGNATION OF PLACE OF TRIAL

     Plaintiff requests Kansas City, Kansas as the place of trial.



                                          PRAYER

WHEREFORE, the Plaintiff prays that the Court grants the following:

1.     Actual damages under 15 USC § 1692k(a)(1).

2.     Statutory damages under 15 USC § 1692k(a)(2)(A).

3.     Reasonable attorneys fees and costs pursuant to 15 USC § 1692k(a)(3).

4.     A finding that Defendant violated the FDCPA.

5.     Such other and further relief as the Court deems just and proper



                                            Respectfully submitted,

                                           /s/ J. Mark Meinhardt
                                           J. Mark Meinhardt #20245
                                           4707 College Blvd., Suite 100
                                           Leawood, KS 66211
                                           913-451-9797
                                           Fax 913-451-6163

                                           ATTORNEY FOR PLAINTIFF
Case 2:11-cv-02500-RDR-KGS Document 1 Filed 09/02/11 Page 6 of 6
